Case 1:17-cv-02122-TSC   Document 1-15   Filed 10/13/17   Page 1 of 2




                     Exhibit A
      Case 1:17-cv-02122-TSC          Document 1-15        Filed 10/13/17     Page 2 of 2




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To:    Whom It May Concern

From: Kenneth Tota
      Acting Director, Office of Refugee Resettlement

Date: March 4, 2017

Re:    ORR custodial decisions to preserve the health of a pregnant UAC

Under section 462 of the Homeland Security Act of 2002 and section 235 of the Trafficking
Victims Protection Reauthorization Act of 2008, the Department of Health and Human Services,
through the Director of the Office of Refugee Resettlement (ORR), is entrusted with the care and
custody of unaccompanied alien children in the United States. This means that the Director of
ORR is empowered by Congress to make all medical decisions for the unaccompanied alien
child (UAC) in place of the child's parents.

As set forth in the March 21, 2008 memorandum, "Medical Services Requiring Heightened ORR
Involvement" (attached here), serious medical services, including significant surgical or medical
procedures, abortions (whether surgical or medical), and services that may threaten the life of a
UAC, require heightened ORR involvement and limited decision-making by grantees. With the
exception of emergency medical situations, when a UAC may be involved in an abortion,
grantees must immediately inform the director of the Division of Unaccompanied Children's
Services (DUCS or DCS) in ORR of the situation, must respond to DUCS' requests for
information, and are prohibited from taking any action that facilitates an abortion without
direction and approval from the Director of ORR.

ORR has received information that on Friday afternoon, March 3, 2017, an unaccompanied alien
child at ORR grantee Southwest Key Casa Blanca began but did not complete the process of an
abortion administered by a series of medications. The medication abortion protocol proceeded
against the recommendation of ORR medical officers. As of Saturday morning, March 4, 2017,
the health status of the UAC's unborn child is undetermined. The abortion protocol involves a
second medication to be administered before Sunday afternoon, March 5, 2017.

This memorandum directs ORR to bring the UAC to the emergency room of a local hospital in
order to determine the health status of the UAC and her unborn child. If steps can be taken to
preserve the life of the UAC and her unborn child, those steps should be taken. If it is confirmed
that the unborn child has already expired due to the beginning of the abortion procedure, steps
can be taken to safely remove the body of the unborn child. In any event, the health and safety of
the UAC must be preserved.




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